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 4   Telephone: (559) 221-2557
 5
     Attorney for Defendant,
 6   Austreberto Leyva-Iniguez

 7                                IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                           NO. 1:17-CR-00205-DAD-BAM
10
                     Plaintiff,
11
          v.                                             WAIVER OF DEFENDANT’S PERSONAL
12                                                       PRESENCE PURSUANT TO FEDERAL
     AUSTREBERTO LEYVA-INIGUEZ et al.,                   RULES OF CRIMINAL PROCEDURE,
13                                                       RULE 43 (b)(3); [PROPOSED] ORDER
14                   Defendant.
15

16   TO THE ABOVE ENTITLED COURT AND ALL PARTIES OF RECORD:
17             Defendant AUSTREBERTO LEYVA-INIGUEZ (“Mr. Leyva”) has been advised of his
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     right to be personally present at all stages of the court proceedings in the above entitled action
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     against him. Mr. Leyva hereby waives his right to be present for proceedings that involve only a
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     conference or a hearing on a question of law pursuant to Federal Rules of Criminal Procedure,

22   Rule 43, subdivision (b)(3).
23                   Pursuant to this waiver, Mr. Leyva request that the Court allow his interest to be
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     represented by the presence of his attorney, Richard M. Oberto, and he agrees that his interests
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     shall be represented the same as if he were personally present. Mr. Leyva agrees that notice to
26

27
     his attorney that his personal presence is required for a proceeding at a specific time and place

28   will be deemed notice to Mr. Leyva of the requirement of his personal presence.
     WAIVER OF DEFENDANT’S PERSONAL APPEARANCE; [PROPOSED] ORDER                                          1
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 3   DATED: 10/5/2017                                   /s/ Austreberto Leyva-Iniguez
                                                          AUSTREBERTO LEYVA-INIGUEZ
 4                                                            Defendant
                                                              Original signature retained by
 5
                                                               attorney Richard M. Oberto
 6

 7
     DATED: 10/5/2017                                  /s/ Richard M. Oberto
 8
                                                       RICHARD M. OBERTO
 9                                                            Attorney for Defendant,
                                                              Austreberto Leyva-Iniguez
10                                                            Original signature retained by
                                                              attorney Richard M. Oberto
11

12

13                                                ORDER
14
            IT IS HEREBY ORDERED that the personal presence of Defendant AUSTREBERTO
15
     LEYVA-INIGUEZ is not required for proceeding that involve only a conference or a hearing on
16
     a question of law pursuant to Federal Rules of Criminal Procedure, Rule 43, subdivision (b)(3).
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19   IT IS SO ORDERED.
20
     Dated: October 5, 2017                                        /s/ Barbara A. McAuliffe
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22                                                            UNITED STATES MAGISTRATE JUDGE

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     WAIVER OF DEFENDANT’S PERSONAL APPEARANCE; [PROPOSED] ORDER                                       2
